Case: 4:17-cr-00131-DMB-JMV Doc #: 1-1 Filed: 11/03/17 1 of 1 PagelD #: 14

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ov 03 2017 IN THE UNITED STATES DISTRICT COURT

¢ TRICT COURT
ee eior OF MESSSFP! ~FOR THE NORTHERN DISTRICT OF MISSISSIPPI

UNITED STATES OF AMERICA

v. CRIMINAL CASE NO. 4:17CR12|
18 U.S.C. § 1347
18 U.S.C. § 1349

SCOTT E. NELSON
CHARLINE BRANDON, a.k.a. Hadiya Imani El Bey
WENDELL BRANDON, a.k.a. Omari [brahim El Bey
ANNETTE LOFTON

PENALTIES
COUNT ONE

Not more than 10 years imprisonment — 18 U.S.C. §§ 1347 & 1349
Not more than $250,000 fine, or both — 18 U.S.C. § 3571 (b)(3)
Not more than 3 years supervised release — 18 U.S.C. § 3583 (b)(2)
$100 special assessment — 18 U.S.C. § 3013 (a)(2)(A)

COUNTS TWO THROUGH THIRTEEN

Not more than 10 years imprisonment — 18 U.S.C. §§ 1347

Not more than $250,000 fine, or both — 18 U.S.C. § 3571 (b)(3)
Not more than 3 years supervised release — 18 U.S.C. § 3583 (b)(2)
$100 special assessment — 18 U.S.C. § 3013 (a)(2)(A)

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